

Reyes v Perez (2024 NY Slip Op 00284)





Reyes v Perez


2024 NY Slip Op 00284


Decided on January 23, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 23, 2024

Before: Webber, J.P., Kern, González, Kennedy, Rosado, JJ. 


Index No. 21863/18, 27203/18 Appeal No. 1513 Case No. 2023-00882 

[*1]Samuel Reyes, Plaintiff-Appellant,
vFermin Perez et al., Defendants-Respondents.
Fermin Perez, Plaintiff-Respondent,
vSamuel Reyes, Defendant-Appellant, St. Luke's Roosevelt Hospital et al., Defendants.


Nguyen Leftt, PC, New York (Andrew Leftt of counsel), for appellant.
Gannon Rosengard &amp; Drossman, Melville (Lisa L. Gokhulsingh of counsel), for respondents.



Order, Supreme Court, Bronx County (Bianka Perez, J.), entered on or about January 10, 2023, which granted respondents' motion to reargue and, upon reargument, denied appellant's motion for summary judgment on the issue of liability, unanimously affirmed, without costs.
The court providently exercised its discretion in granting respondents' motion to reargue and, upon reargument, denying appellant's motion for summary judgment on the issue of liability. The court overlooked the affidavit of a witness to the motor vehicle accident, who averred that appellant was the cause of the accident because the ambulance he was driving proceeded through a red light at the intersection where the accident occurred without safely slowing down, in violation of Vehicle and Traffic Law § 1104(b)(2). The conflicting evidence of how the accident occurred precludes summary judgment (see Majstorovic v Best Mkt., 215 AD3d 560, 560-561 [1st Dept 2023]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 23, 2024








